






Opinion issued February 27, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00055-CV

____________


UBM COMPUTERS, INC. D/B/A UNITED BUSINESS MACHINES, Appellant


V.


WAFFER INTERNATIONAL COR. D/B/A J.D. RESEARCH, Appellee






On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 758843






MEMORANDUM OPINION

	Appellant has filed a motion to dismiss its appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Higley.


